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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION                       No. 2:12-md-02323-AB
INJURY LITIGATION                                MDL No. 2323


Kevin Turner and Shawn Wooden,                   Civil Action No. 2:14-cv-00029-AB
on behalf of themselves and
others similarly situated,

          Plaintiffs,

               v.

National Football League and
NFL Properties, LLC,
successor-in-interest to
NFL Properties, Inc.,

          Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS


                   MEMORANDUM OF LAW IN SUPPORT OF
               MOVANTS’ MOTION FOR LEAVE TO FILE A REPLY
                    IN SUPPORT OF MDL DOCKET NO. 6169
            (MOTION FOR LEAVE TO CONDUCT LIMITED DISCOVERY)

       On September 13, 2014, Movants filed a motion for leave to conduct limited discovery

for purposes of preparing for this Court’s November 19, 2014 fairness hearing. Dkt. No. 6169.

On October 2, 2014, the NFL and Class Counsel filed oppositions. Dkt. Nos. 6183, 6185.

       Movants respectfully request leave to file a reply memorandum so that Movants may

respond to and rebut the contentions raised in the oppositions to Movants’ Motion for Leave to

Conduct Limited Discovery. A reply is necessary because of the importance of the matter and to

correct the misstatements of law and fact in Class Counsel’s and the NFL’s oppositions. The

interests of justice therefore favor granting leave to file a reply. Movants’ request for leave to
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file a reply memorandum is also timely because it will not delay the Court’s consideration of any

pending motion and because it is filed within eight business days after the oppositions were filed.



Dated: October 13, 2014                                         /s/ Steven F. Molo
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